                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                           DOCKET NO. 3:16-cr-00074-MOC-DSC

 UNITED STATES OF AMERICA,                     )
                                               )
                                               )
                                               )
 Vs.                                           )                      ORDER
                                               )
 JERITON LAVAR CURRY,                          )
                                               )
                   Defendant.                  )



          THIS MATTER is before the court on defendant’s pro se Motion for Plea Withdraw[al]

and Motion to Challenge Grand Jury. Having considered defendant’s motions and reviewed the

pleadings, the court enters the following Order.

                                           ORDER

          IT IS, THEREFORE, ORDERED that defendant’s Motion for Plea Withdraw[al] (#195)

and Motion to Challenge Grand Jury (#196) are DENIED without prejudice as defendant is

represented by counsel. See L.Cr.R. 47.1(H).



          Defendant is advised to consult with his attorney, who may make motions on defendant’s

behalf.


 Signed: December 5, 2016




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